         Case 1:19-cv-11322-FDS Document 52 Filed 01/21/21 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


William McDermet
                         Plaintiff

                 v.                                CIVIL ACTION NO. 1:19-cv-11322-FDS


DIRECTV, LLC et al
                         Defendant


                                         JUDGMENT

   D.J. Saylor


_____            Jury Verdict. This action came before the court for a trial by jury. The
                 issues have been tried and the jury has rendered its verdict.

__X___           Decision by the Court. This action came to trial or hearing before the
                 Court. The issues have been tried or heard and a decision has been
                 rendered.

        IT IS ORDERED AND ADJUDGED:


      Pursuant to the Memorandum and Order [51] dated 01/21/2021 The motion for summary
judgment of defendants DirecTV, LLC, and The DirecTV Group, Inc. is GRANTED.




                                                                 ROBERT M. FARRELL
                                                                 CLERK OF COURT



        Dated:        01/21/2021                            By   /s/ Taylor Halley
                                                                 Deputy Clerk
